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11                         UNITED STATES DISTRICT COURT
12                        CENTRAL DISTRICT OF CALIFORNIA
                           SOUTHERN DIVISION—SANTA ANA
13
14   IN RE ALLERGAN, INC. PROXY                   Case Nos. 14-cv-2004-DOC (Basile) and
15   VIOLATION SECURITIES                         17-cv-04776-DOC (Timber Hill)
     LITIGATION
16   _________________________________            Honorable David O. Carter
17                                                CLASS ACTION
     TIMBER HILL LLC, individually and
18   on behalf of all others similarly situated
                                                  DEFENDANTS’ SUPPLEMENTAL
19
                         Plaintiff,               BRIEF REGARDING THE PROPER
20                v.                              METHOD OF CALCULATING THE
                                                  STATUTORY CAP UNDER
21
     PERSHING SQUARE CAPITAL                      SECTION 20A
22   MANAGEMENT, L.P., et al.
23
                         Defendants.
24
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        DEFENDANTS’ SUPPLEMENTAL BRIEF RE THE SECTION 20A DAMAGES CAP
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1                   MEMORANDUM OF POINTS AND AUTHORITIES
2          Section 20A(b)(1) of the Securities Exchange Act of 1934 provides the
3    statutory basis for what has been referred to in this litigation as the “cap”—a
4    limitation on damages that plaintiffs can recover under the right of action in Section
5    20A(a). Under Section 20A(b)(1), the total amount of damages cannot exceed
6    defendants’ “profit gained or loss avoided in the transaction or transactions that are
7    the subject of the violation.” On December 15, 2017, the Court requested
8    supplemental briefing on the “method” for calculating the cap.
9          Defendants submit that the Court should apply Section 20A in a two-step
10   process that is in accord with Defendants’ rights to a jury trial on the factual issues
11   underlying the damages calculation. First, before trial, the Court will determine
12   whether, in light of the undisputed facts, it agrees with Defendants’ summary
13   judgment motion that the outside date for calculating the Section 20A damages cap is
14   June 18, 2014, when formal tender offer documents were filed with the SEC and
15   disclosed to the market. Second, at a trial on liability, a jury will determine whether
16   PS Fund 1 traded on the basis of material, nonpublic information (“MNPI”) related to
17   a tender offer that it obtained from Valeant, and if so, make factual findings to
18   determine the date on which that MNPI was publicly disseminated. If the court grants
19   summary judgment in step 1, this date must be on or before the outside date set by the
20   Court. Only after this second step is complete can the Court compute the damages
21   cap, using PS Fund 1’s purchase prices and the closing prices of Allergan stock on the
22   disclosure date found by the jury.
23         Courts have consistently held that “profits gained or loss avoided” must be
24   determined based upon the market price of the relevant security “a reasonable time
25   after the inside information had been generally disseminated.” In re MicroStrategy,
26   Inc. Sec. Litig., 115 F. Supp. 2d 620, 664-65 (E.D. Va. 2000) (internal quotations
27   omitted); Short v. Belleville Shoe Mfg. Co., 908 F.2d 1385, 1392 (7th Cir. 1990)
28   (same); Kaplan v. S.A.C. Capital Advisors, 40 F. Supp. 3d 332, 339-40 (S.D.N.Y.
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        DEFENDANTS’ SUPPLEMENTAL BRIEF RE THE SECTION 20A DAMAGES CAP
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1    2014) (same). The seminal pre-section 20A case on the calculation of “profit” in
2    connection with securities law remedies is in accord. S.E.C. v. MacDonald, 699 F.2d
3    47, 64-65 (1st Cir. 1983) (en banc) (requiring calculation of profit based on price “a
4    reasonable time after public dissemination of the inside information”). And Section
5    21A—an analog statute to Section 20A affording the SEC a civil remedy based on
6    “profits gained”—similarly supports Defendants’ position that profit gained must be
7    calculated by reference to the date of disclosure of the MNPI at issue. See 15 U.S.C.
8    § 78u-1(e) (measuring “profit gained” based on “the trading price of the security a
9    reasonable period after public dissemination of the nonpublic information”).
10          Timber Hill offers a pre-Section 20A case—Nelson v. Serwold, 576 F.2d 1332
11   (9th Cir. 1978)—in support of its position that “profit” under Section 20A must be
12   calculated irrespective of when the MNPI was disseminated. But, even in Nelson, the
13   court recognized that courts “do not use the date of judgment but [instead] employ an
14   earlier post-transaction date, such as the date of the disclosure of the fraud.” Id.
15   (emphasis added).
16          On the other hand, until last week, the Basile Plaintiffs have been unequivocal
17   in their position that the cap is “measured as the difference between the price at the
18   time of purchase and the market price of the securities a reasonable time after the
19   MNPI has been fully disclosed.” (Feldman Decl.1 Ex. A at 24 (Plfs. Contentions of
20   Law and Fact) (11/28/2017).) They took that position in summary judgment briefing
21   and in briefing on damages allocation issues. (See, e.g., Dkt. 467-12 (Basile Plaintiffs’
22   Opp. to Valeant MSJ) at 38 (“The damages cap is appropriately measured as of
23   November 17, 2014, as Pershing continued to possess valuable MNPI concerning
24   Valeant’s bid that provided an informational advantage over Class members until
25   Valeant withdrew its tender offer.”); Dkt. 570 (Basile Plaintiffs’ Reply) at 14
26      1
          The “Feldman Decl.” refers to the Declaration of Steven N. Feldman in Support
27   of Defendants’ Supplemental Brief Regarding the Proper Method of Calculating the
     Statutory Cap Under Section 20A, filed herewith.
28      2
          All docket citations refer to filings in the Basile litigation.
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        DEFENDANTS’ SUPPLEMENTAL BRIEF RE THE SECTION 20A DAMAGES CAP
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1    (“Timber Hill also incorrectly asserts that the profits cap calculation is not related to
2    the date when the omitted MNPI is fully revealed to the market.”).) Their expert has
3    said the same thing in every report he has submitted in this case. (Dkt. 473-25 (Bajaj
4    Expert Rep.) ¶ 150 (“Pershing’s gains after the public disclosure of the MNPI will
5    represent a cap on the aggregate class-wide damages that can be recovered.”); Dkt.
6    474-24 (Bajaj Rebuttal Rep.) ¶ 150 (same).)
7    I.      The Damages Cap Must be Calculated in Relation to the Disclosure Date of
             the MNPI
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             Section 20A creates an express right of action over insider trading in violation
9
     of SEC Rules 10b-5 or 14e-3, but expressly limits the damages recoverable in such a
10
     case:
11
12           (1) Contemporaneous trading actions limited to profit gained or loss
             avoided
13           The total amount of damages imposed under subsection (a) shall not exceed the
14           profit gained or loss avoided in the transaction or transactions that are the
             subject of the violation.
15
     15 U.S.C. § 78t–1(b)(1).
16
             This provision “cap[s] the defendant’s liability.” Gordon v. Sonar Capital
17
     Mgmt, 92 F. Supp. 3d 193, 203-04 (S.D.N.Y. 2015) (“The limitations on damages
18
     found in Section 20A(b) are just that—limitations on damages.”). Plaintiffs still have
19
     the “burden of proving [their] actual damages.” Id. But if actual damages exceed the
20
     damages cap, recovery is limited to the amount of the cap. Id.
21
             A.    Section 20A(b)(1) Measures “Profits Gained” Based on the Stock
22
                   Price a Reasonable Time After the MNPI is Disclosed
23           Three published decisions have analyzed the specific issue of how to calculate
24   the Section 20A(b)(1) damages cap. All three are in agreement: the damages cap must
25   be calculated based on the stock price no later than a reasonable time after the MNPI
26   at issue is generally disseminated into the market. Defendants have not located any
27   published cases to the contrary.
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          DEFENDANTS’ SUPPLEMENTAL BRIEF RE THE SECTION 20A DAMAGES CAP
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1           In Short, the Seventh Circuit held that “profit gained or loss avoided” under
2    Section 20A(b)(1) “is a contemporaneous measure: the difference between the price
3    the insider realizes and the market price of the securities after the news is released.”
4    Short, 908 F.2d at 1392 (emphasis added). According to the court, this measure “is
5    fixed within days after the trading, sometimes within hours.” Id. (emphasis added).
6    This construction of Section 20A(b)(1) is required so that “[n]o one has a free put or
7    call of securities; no one can use delay in bringing suit to speculate on the firm’s
8    future prosperity.” Id.3
9           Ten years later, In re MicroStrategy, held similarly that the section 20A
10   damages cap must be tied to “‘the market price of the securities after the news is
11   released.’” 115 F. Supp. 2d at 665 (citing Short, 908 F.2d at 1392). The date at which
12   “damages are measured should occur, however, no later than ‘a reasonable time
13   after the inside information had been generally disseminated’—that is, after the
14   market and defrauded sellers and buyers have had a reasonable time to digest the
15   information.” Id. (emphasis added) (citing MacDonald, 699 F.2d at 55).4 Like the
16   Seventh Circuit in Short, MicroStrategy offered a policy rationale for this
17   construction: “extending the cut-off date for measuring damages beyond a reasonable
18   time after disclosure would allow these purchasers and sellers ‘to speculate on the
19   firm's future prosperity.’” Id. (citing MacDonald, 699 F.2d at 55).
20      3
          The same rationale was later relied upon in the loss causation context in Dura
21   Pharms., Inc. v. Broudo, 544 U.S. 336, 345 (2005), where the Supreme Court held
     that “[securities] statutes make these [] actions available, not to provide investors with
22   broad insurance against market losses, but to protect them against those economic
23   losses that misrepresentations actually cause.” Id.
        4
          Relying on Short, the Northern District of Illinois in McGhee v. Joutras twice
24   found that the Section 20A(b)(1) cap must be set in relation to the disclosure of the
25   MNPI at issue. In the first decision, the court cited Short and held that the cap was set
     “by using a valuation date immediately after the relevant news reached the market.”
26   No. 94 C 7052, 1995 WL 76864, at *2 (N.D. Ill. Feb. 14, 1995). In a subsequent
27   decision, the court rejected the plaintiffs’ suggested measure of damages based on a
     “months-later” date because it was “wrong under Basic and Short[.]” 1995 WL
28   124131, at *2 (N.D. Ill. Mar. 21, 1995).
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1           And then in 2014, Kaplan held that “damages in an action under Section 20A
2    are capped at the insider’s profits gained or losses avoided based on the inside
3    information.” 40 F. Supp. 3d at 339-40 (emphasis added). “Profits and losses are
4    measured by determining ‘the difference between the price the insider realizes and the
5    market price of the securities . . . a reasonable time after the inside information ha[s]
6    been disseminated.’” Id. (citing MicroStrategy, 115 F. Supp. 2d at 665).5
7           And although it predates the enactment of § 20A, MacDonald—which is cited
8    in Short, MicroStrategy, and Kaplan—explains why “profits gained” must stop
9    accruing upon the disclosure of any MNPI. There, the district court ordered the
10   defendant to disgorge profits based on sales of stock made two years after the
11   disclosure of any inside information. 699 F.2d at 52-54. But the First Circuit reversed,
12   holding that profit gained must be limited to the price of the stock “a reasonable time
13   after public dissemination of the inside information.” Id. The court explained:
14          When a fraudulent buyer has reached the point of his full gain from the fraud,
            viz., the market price a reasonable time after the undisclosed information has
15
            become public, any consequence of a subsequent decision, be it to sell or to
16          retain the stock, is res inter alios, not causally related to the fraud . . . . If two
            fraudulent insiders bought at the same time and price, but, well after public
17
            disclosure, sold at different times and prices, their assessments would be
18          measured by their selling dates, choices they made entirely independent of the
            fraud. To call the additional profits made by the insider who held until the price
19
            went higher “ill-gotten gains,” or “unjust enrichment,” is merely to give a dog a
20          bad name and hang him. Id.
21          Finally, Section 20A was added to the Exchange Act by the Insider Trading and
22   Securities Fraud Enforcement Act of 1988. Pub. L. No. 100-704, 102 Stat. 4677
23   (Nov. 19, 1988). That bill also added Section 21A, which codified SEC civil penalties
24   for insider trading that, like the cap, are based on “profit gained or loss avoided.” 15
25
        5
          On December 14, 2017, the Basile Plaintiffs argued (for the first time) that these
26   cases were referring to damages calculations, not damages cap calculations. This is
27   plainly incorrect; each case specifically cites to and addresses Section 20A(b)(1),
     which is a limit on, not a measure of, damages. See Kaplan, 40 F. Supp. 3d at 339; In
28   re MicroStrategy, 115 F. Supp. 2d at 665 (same); Short, 908 F.2d at 1392 (same).
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1    U.S.C. § 78u-1(a)(2); accord S.E.C. v. Wyly, 788 F. Supp. 2d 92, 112 n.140 (S.D.N.Y.
2    2011) (holding that section 20A is the “private analog” to section 21A). Like Short,
3    MicroStrategy, and Kaplan, Section 21A(e) defines “profit gained or loss avoided” as
4    “the difference between the purchase or sale price of the security and the value of that
5    security as measured by the trading price of the security a reasonable period after
6    public dissemination of the nonpublic information.” 15 U.S.C. § 78u-1(e). Given
7    Congress’s use of the same terms in two sections directed to the same conduct enacted
8    in the same bill, Section 21A(e)’s definition merits considerable weight. See United
9    States v. LKAV, 712 F.3d 436, 440 (9th Cir. 2013) (“We also look to similar
10   provisions within the statute as a whole and the language of related or similar statutes
11   to aid in interpretation.”).
12          B.     The Statutory Text Also Supports Defendants’ Position
13          Plaintiffs’ arguments are also contrary to the text of Section 20A(b)(1), which is
14   addressed to “profit gained or loss avoided in the transaction or transactions that are
15   the subject of the violation.” 15 U.S.C. § 78t-1(b)(1). “[T]he violation” references
16   back to “subsection (a),” which defines the subject of the right of action—trading on
17   the basis of MNPI in violation of rules under the Exchange Act. 15 U.S.C. § 78t-1(a);
18   see also In re Refco, Inc. Sec. Litig., 503 F. Supp. 2d 611, 665 (S.D.N.Y. 2007)
19   (“[T]here can only be § 20A liability if the predicate violation of the Exchange Act
20   was an act of insider trading.”). Because Section 20A(a) prohibits trading under the
21   circumstances specified, it follows that the “transactions that are the subject of the
22   violation” are PS Fund 1’s class period purchases of Allergan stock and options that
23   allegedly violated Rule 14e-3. It is those purchases, and not any subsequent sale by
24   PS Fund 1, that are the allegedly “subject of the violation” for which Section 20A(a)
25   gives Plaintiffs a right of action.
26          Plaintiffs’ argument that “transactions” means PS Fund 1’s purchases and
27   subsequent post-disclosure sales is inconsistent with all of the cases that address the
28   issue and creates a rule that arbitrarily turns on later investment decisions with no
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1    bearing on any “violations” committed by a defendant. This cannot be the rule
2    because to permit the cap to continue accruing after the date of disclosure would give
3    Plaintiffs a risk-free call option. After any allegedly concealed MNPI was disclosed
4    to the market, investors, including plaintiffs, were free to buy Allergan stock (or
5    derivatives) and take the same risks for the same rewards as everyone else in the
6    market, including PS Fund 1. See Short, 908 F.2d at 1392; MicroStrategy, 115 F.
7    Supp. 2d at 665.
8          C.     Plaintiffs’ Authorities are Inapposite
9          In their Omnibus Memorandum filed on November 6, 2017, the Timber Hill
10   Plaintiffs cited two cases in support of their claim that the Section 20A damages cap
11   looks to total profits with no reference to the time that MNPI is released into the
12   market: Nelson, 576 F.2d 1332; and Affiliated Ute Citizens of Utah v. United States,
13   406 U.S. 128 (1972). As an initial matter, neither case analyzes “profit gained” in the
14   context of Section 20A—both predate Section 20A by at least ten years.
15         But even if these cases were relevant to interpreting “profits gained” under
16   Section 20A(b)(1), they do not support Plaintiffs’ position. In Nelson, the Ninth
17   Circuit expressly held that even though “[t]o adhere to the model of rescission the
18   monetary equivalent should be determined as of the date the purchaser was under a
19   present duty to return the stock, viz. the day of judgment[,]…courts generally…do not
20   use the date of judgment.” 576 F.2d at 1339-40. Rather, courts should “employ an
21   earlier post-transaction date, such as the date of the disclosure of the fraud.” Id.
22   Therefore, Nelson supports Defendants’ position.
23         The Timber Hill Plaintiffs’ reliance on Affiliated Ute is similarly misplaced.
24   Affiliated Ute endorsed a measure of damages based on the “fair value” of
25   fraudulently obtained securities “at the time” of their sale to defendants. 406 U.S. at
26   154-55. In doing so, the court rejected “the profit made by the defendant on resale” as
27   a measure of damages in a case based on an omission). Id. As the cases cited above
28   explain, when the market is efficient, the “fair value” referenced in Affiliated Ute is
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1    reflected in the stock price at the time MNPI is disclosed to and absorbed by the
2    market.6
3              Moreover, as described, the Basile Plaintiffs for their part have uniformly
4    rejected any theory of the damages cap that is unbound by the date of the disclosure of
5    MNPI (though the Basile Plaintiffs and Defendants have disagreed as to that date).
6    See supra at 2-3.
7    II.       The Proper Method of Calculating the Statutory Cap under Section 20A
               Involves a Two-Step Determination
8
               The proper method of calculating the Section 20A cap must involve the
9
     following steps.
10
               First, before trial, the Court must rule on Defendants’ summary judgment
11
     motion, which argues that the latest date the damages cap could apply in light of the
12
     undisputed facts and as a matter of law is June 18, 2014 (the “outside date”), when the
13
     tender offer and Schedule TO were disclosed to the market. (Dkt. 394 (Valeant MSJ)
14
     at 24-25.)
15
               Second, at trial, the jury must make factual findings to determine the date on
16
     which the MNPI (if the jury determines there was any material, nonpublic information
17
     that related to a tender offer) was publicly disseminated (which date may be before the
18
     outside date set by the Court).7 It would violate Defendants’ Seventh Amendment
19
     rights if the Court decided the factual issues upon which the cap turns before the jury
20
     decides those common questions. It is long-settled law that when legal claims
21
     carrying a jury trial right have factual overlap with equitable issues that do not, the
22
     parties’ rights to a jury trial on the legal issues must be preserved. See Ross v.
23
     Bernhard, 396 U.S. 531, 542 (1970) (holding that stockholders have right to jury trial
24
           6
25         Unlike here, the market in Affiliated Ute was not efficient; therefore, disclosure of
     fraudulent information into the “market” would have had little effect on the price of
26   the stocks. 406 U.S. at 155 (describing the market of the securities at issue in its case
27   as “so isolated and so thin”).
         7
           At trial, the jury will also determine actual damages, which will require the jury
28   to consider, among other things, causation issues.
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           DEFENDANTS’ SUPPLEMENTAL BRIEF RE THE SECTION 20A DAMAGES CAP
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1    in derivative action, even though the question of whether they are entitled to stand in
2    the shoes of the corporation as plaintiffs is an equitable one). “[A] district court may
3    not deprive a litigant of his right to a jury trial by resolving an equitable claim before a
4    jury hears a legal claim raising common issues[.]” Lytle v. Household Mfg., Inc., 494
5    U.S. 545, 552 (1990). “Thus, where there are issues common to both the equitable
6    and legal claims, ‘the legal claims involved in the action must be determined prior to
7    any final court determination of [the] equitable claims.’” Granite State Ins. Co. v.
8    Smart Modular Techs., Inc., 76 F.3d 1023, 1027 (9th Cir. 1996); Dairy Queen, Inc. v.
9    Wood, 369 U.S. 469, 479 (1962). Only “[i]f the legal and equitable claims do not
10   involve common issues,” does the “district court ha[ve] discretion to regulate the
11   order of trial” and decide equitable issues first. Granite State, 76 F.3d at 1027.
12         Only after a jury renders a verdict can the Court then compute the damages cap
13   as of the date provided by the jury (i.e., the Court would perform the mathematical
14   calculation as of the date set by the jury). See L.A. Police Protective League v. Gates,
15   995 F.2d 1469, 1473 (9th Cir. 1993) (holding that “in a case where legal claims are
16   tried by a jury and equitable claims are tried by a judge, and the claims are ‘based on
17   the same facts,’ in deciding the equitable claims ‘the Seventh Amendment requires the
18   trial judge to follow the jury’s implicit or explicit factual determinations.’”).
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        DEFENDANTS’ SUPPLEMENTAL BRIEF RE THE SECTION 20A DAMAGES CAP
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1    Dated: December 21, 2017         Respectfully submitted,

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